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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 MARIA JOSE PIZARRO
                                                                       No. 1:20-cv-05783-AKH
                                     Plaintiff, Counterclaim
                                     Defendant,
                        -against-

 EUROS EL TINA RESTAURANT LOUNGE and BILLIARDS
 CORP., SANTIAGO QUEZADA, And SANTIAGO QUEZADA,
 Jr.,
                          Defendants, Counterclaim
                          Plaintiffs, Crossclaim
                          Plaintiff, Third Party Plaintiffs
                 -and-

 JOSE E. CASTRO, ELADIO CASTRO PRODUCTIONS, INC.,
 EMITON FERNANDEZ a.k.a. EMILIO FERNANDEZ,
 NARCISO GOMEZ, ZOILIMAR MEJIA a.k.a ZULIMAR
 MEJIA, and TOMAS ANDRES PIZARRO ZEPEDA

                                     Third Party Defendants,
                                     Crossclaim Defendants

    DEFENDANTS’ FIRST AMENDED ANSWER TO PLAINTIFFS COMPLAINT,
   COUNTERCLAIM AGAINST PLAINTIFF, MARIA PIZARRO, THIRD-PARTY
COMPLAINT, AND CROSS CLAIMS AGAINST THIRD PARTY DEFENDANTS, JOSE
E. CASTRO, ELADIO CASTRO PRODUCTIONS, INC., EMITON FERNANDEZ a.k.a
  EMILIO FERNANDEZ, NARCISO GOMEZ, ZOILIMAR MEJIA a.k.a ZULIMAR
             MEJIA, and TOMAS ANDRES PIZARRO ZEPEDA.

       Defendants, Euros El Tina Restaurant Lounge and Billiards Corp. (“Euros”), Santiago

Quezada (“Quezada”), and Santiago Quezada, Jr. (“Junior”) (hereinafter and collectively

“Defendants”), by their attorneys, the Law Offices of Martin E. Restituyo P.C., as and for their

First Amended Answer with Counter Claims and Cross Claims to the complaint of Maria Jose

Pizarro (hereinafter “Plaintiff”) filed on July 24, 2020 (the “Complaint”), set forth the following:

AS AND FOR AN ANSWER TO THE SECTION TITLED “NATURE OF THE ACTION”

       1.      Admit the allegations set forth in Paragraph 1 of the Complaint to the extent that

they state that Plaintiff was the General Manager at Euros for approximately 10 years but deny the

remaining allegations therein.
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